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                             UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA                          : CASE NO. 3:16CR073

                        Plaintiff,                : JUDGE THOMAS M. ROSE

                vs.                               :

DEONTAY LAVERN SATTERWHITE (1) :        [PROPOSED] PROTECTIVE ORDER
GUY WHITE (2)
CHARLES DARNELL SPENCER (3)        :
WILLIAM CLARENCE ETCHISON (4)
                                   :
                Defendants.
              ___________________________________________________

        Pursuant to Federal Rule of Criminal Procedure 16(d)(1), the Court hereby grants the

Motion of the United States for entry of a Protective Order, prescribing the manner in which

Defendants DEONTAY LAVERN SATTERWHITE, GUY WHITE, CHARLES DARNELL

SPENCER and WILLIAM CLARENCE ETCHISON, and their counsel should handle certain

materials – namely, undercover recorded telephone calls and/or undercover body wire recordings

dated February 1, 2016, October 28, 2015, October 14, 2015 and October 13, 2015 (collectively,

“the Discovery Materials”)1 – as follows:

        1.      Defendants’ counsel and Mr. Satterwhite, Mr. White, Mr. Spencer and Mr.

Etchison will not disclose the said information directly or indirectly to any third person except:

attorneys and investigators who are assisting in Mr. Spencer and Mr. Etchison’s defense; United

States citizens who the defense interviews as potential witnesses; and potential experts

(“Authorized Individuals”).      Upon disclosing said information contained in the Discovery

Materials to an Authorized Individual, Defendants’ counsel and Mr. Satterwhite, Mr. White,

Mr. Spencer and Mr. Etchison must provide that Authorized Individual with a copy of the

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When producing these Discovery Materials to Mr. Satterwhite, Mr. White, Mr. Spencer and Mr.
Etchison and their counsel, the United States will clearly mark them as subject to the Protective Order.
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Court’s Protective Order and advise that Authorized Individual that he or she will be subject to the

same obligations as imposed upon Defendants’ counsel, Mr. Satterwhite, Mr. White, Mr.

Spencer and Mr. Etchison by the Protective Order.

       2.      Defendants’ counsel shall not copy or reproduce the Discovery Materials unless

copied or reproduced for the express use by Authorized Individual(s) who may be assisting in the

defense, and in that event, the copies or reproductions should be treated in the same manner as the

original Discovery Materials.    Defendants’ counsel shall maintain a log of any and all copies or

reproductions made of the Discovery Materials and to whom they were distributed.

       3.      Although Defendants’ counsel may permit Mr. Satterwhite, Mr. White, Mr.

Spencer and Mr. Etchison to review the Discovery Materials at their respective law office (or in

a pre-trial detention facility under defense counsel’s personal observation and supervision), Mr.

Satterwhite, Mr. White, Mr. Spencer and Mr. Etchison may not remove from said office: the

Discovery Materials; or copies or reproductions of the Discovery Materials, regardless of format,

including, but not limited, personal notes reflecting content of the Discovery Materials.

       4.      Defendants’ counsel, Mr. Satterwhite, Mr. White, Mr. Spencer and Mr.

Etchison are only authorized to use the Discovery Materials solely in the defense of this case and

for no other purpose.

       5.      At the conclusion of this case, Defendants’ counsel shall return all the Discovery

Materials and copies or reproductions thereof forthwith to the United States Attorney’s Office.

       6.      Defendants’ counsel shall inform Mr. Satterwhite, Mr. White, Mr. Spencer and

Mr. Etchison of these prescriptions placed on the Discovery Materials, and ensure that he does

not to disclose or use any information contained in the Discovery Materials in violation of the

Protective Order. However, nothing contained in the Protective Order will preclude any party




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from applying to the Court for further relief or for modification of any provision hereof.




_5/25/17_________                             *s/ Thomas M. Rose_______________________
DATE                                          JUDGE THOMAS M. ROSE
                                              UNITED STATES DISTRICT COURT JUDGE




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